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                   323 FIFTH STREET                                                                                      (800) 603-0836
                   EUREKA CA 95501                                                                Para Español, Ext. 2660, 2643 o 2772
                                                                                                      8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                              Main Office NMLS #5985
                                                                                                            Branch Office NMLS #9785




              BRIAN PERINA
              1811 RIVER TERRACE DR
              JOHNSBURG IL 60051



Analysis Date: August 26, 2021                                                                                                           Final
Property Address: 1811 WEST RIVER TERRACE DRIVE JOHNSBURG, IL 60050                                                       Loan:
                                      Annual Escrow Account Disclosure Statement
                                                   Account History

      This is a statement of actual activity in your escrow account from Oct 2020 to Sept 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                Current:      Effective Oct 01, 2021:           Escrow Balance Calculation
 Principal & Interest Pmt:               550.32                  550.32            Due Date:                                    Sep 01, 2020
 Escrow Payment:                         391.83                  421.68            Escrow Balance:                                (2,145.59)
 Other Funds Payment:                       0.00                    0.00           Anticipated Pmts to Escrow:                     5,093.79
 Assistance Payment (-):                    0.00                    0.00           Anticipated Pmts from Escrow (-):                    0.00
 Reserve Acct Payment:                      0.00                    0.00           Anticipated Escrow Balance:                     $2,948.20
  Total Payment:                          $942.15                 $972.00


                     Payments to Escrow        Payments From Escrow                                  Escrow Balance
       Date          Anticipated   Actual      Anticipated     Actual         Description            Required       Actual
                                                                          Starting Balance              391.78     (4,482.93)
      Oct 2020          391.83      392.57                            *                                 783.61     (4,090.36)
      Nov 2020          391.83      392.57                            *                               1,175.44     (3,697.79)
      Dec 2020          391.83      392.57                            *                               1,567.27     (3,305.22)
      Dec 2020                      128.73                            *   Escrow Only Payment         1,567.27     (3,176.49)
      Dec 2020                      234.69                            *   Escrow Only Payment         1,567.27     (2,941.80)
      Jan 2021          391.83      392.57                            *                               1,959.10     (2,549.23)
      Jan 2021                      424.80                            *   Escrow Only Payment         1,959.10     (2,124.43)
      Jan 2021                      424.80                            *   Escrow Only Payment         1,959.10     (1,699.63)
      Feb 2021          391.83      392.57                            *                               2,350.93     (1,307.06)
      Mar 2021          391.83      785.14                            *                               2,742.76       (521.92)
      Mar 2021                        3.73                            *   Escrow Only Payment         2,742.76       (518.19)
      Mar 2021                        7.11                            *   Escrow Only Payment         2,742.76       (511.08)
      Apr 2021          391.83      392.57                            *                               3,134.59       (118.51)
      Apr 2021                      424.80                            *   Escrow Only Payment         3,134.59        306.29
      May 2021          391.83      392.57                            *                               3,526.42        698.86
      May 2021                        7.11                            *   Escrow Only Payment         3,526.42        705.97
      May 2021                      424.80                            *   Escrow Only Payment         3,526.42      1,130.77
      May 2021                                               1,419.59 *   County Tax                  3,526.42       (288.82)
      Jun 2021          391.83                   1,390.10             *   County Tax                  2,528.15       (288.82)
      Jun 2021                                   1,970.00    2,221.00 *   Homeowners Policy             558.15     (2,509.82)
      Jun 2021                         7.11                           *   Escrow Only Payment           558.15     (2,502.71)

                                                                                                                                Page 1
Jun 2021Case 17-82896 281.71
                        Doc                    Filed 09/01/21            Entered   09/01/21
                                                                          * Escrow Only      14:12:10
                                                                                        Payment    558.15Desc  Main
                                                                                                           (2,221.00)
Jun 2021              249.29
                                                   Document              Page   4 of 8
                                                                          * Escrow Only Payment    558.15   (1,971.71)
Jul 2021      391.83  392.57                                           *                               949.98             (1,579.14)
Jul 2021              318.60                                           *    Escrow Only Payment        949.98             (1,260.54)
Jul 2021              534.54                                           *    Escrow Only Payment        949.98               (726.00)
Aug 2021      391.83                                                   *                             1,341.81               (726.00)
Aug 2021                                                      1,419.59 *    County Tax               1,341.81             (2,145.59)
Sep 2021      391.83                             1,341.81              *    County Tax                 391.83             (2,145.59)
                                                                            Anticipated Transactions   391.83             (2,145.59)
Aug 2021                    4,701.96                                                                                       2,556.37
Sep 2021                      391.83                                                                                       2,948.20
                $4,701.96 $12,491.31          $4,701.91 $5,060.18

An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
our toll-free number.


Last year, we anticipated that payments from your account would be made during this period equaling 4,701.91. Under
Federal law, your lowest monthly balance should not have exceeded 783.65 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.
(The amount of surplus only exists if the loan is current, the analysis gives a projected overage as if all past due payments
are made the month the analysis is processed).




                                                                                                                                       Page 2
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Analysis Date: August 26, 2021                                                                                                                    Final
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Borrower: BRIAN PERINA                                                                                                              Loan:
                                                Annual Escrow Account Disclosure Statement
                                                       Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                             2,948.20          421.70
      Oct 2021               421.68                                                                        3,369.88          843.38
      Nov 2021               421.68                                                                        3,791.56        1,265.06
      Dec 2021               421.68                                                                        4,213.24        1,686.74
      Jan 2022               421.68                                                                        4,634.92        2,108.42
      Feb 2022               421.68                                                                        5,056.60        2,530.10
      Mar 2022               421.68                                                                        5,478.28        2,951.78
      Apr 2022               421.68                                                                        5,899.96        3,373.46
      May 2022               421.68                                                                        6,321.64        3,795.14
      Jun 2022               421.68       1,419.59            County Tax                                   5,323.73        2,797.23
      Jun 2022                            2,221.00            Homeowners Policy                            3,102.73          576.23
      Jul 2022              421.68                                                                         3,524.41          997.91
      Aug 2022              421.68                                                                         3,946.09        1,419.59
      Sep 2022              421.68        1,419.59            County Tax                                   2,948.18          421.68
                         $5,060.16       $5,060.18

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 421.68. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 843.36 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 2,948.20. Your starting
      balance (escrow balance required) according to this analysis should be $421.70. This means you have a surplus of 2,526.50.
      (The amount of surplus only exists if the loan is current, the analysis gives a projected overage as if all past due payments
      are made the month the analysis is processed).

      This surplus must be returned to you unless it is less than $50.00, in which case we have the additional option of keeping
      it and lowering your monthly payments accordingly. As the loan is delinquent, we will not be sending a check for the surplus.

      We anticipate the total of your coming year bills to be 5,060.18. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Analysis Date: August 26, 2021                                                                                                         Final
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Borrower: BRIAN PERINA                                                                                                   Loan:

      New Escrow Payment Calculation
      Unadjusted Escrow Payment                      421.68
      Surplus Amount:                                  0.00
      Shortage Amount:                                 0.00
      Rounding Adjustment Amount:                      0.00
      Escrow Payment:                               $421.68




     NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
     premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
     the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
     payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
     Street, Eureka, Ca 95501 or 800-603-0836.

  * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
  updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
  or return in the self-addressed envelope.




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

 In Re:                                           Case No. 17-82896

 Brian K. Perina
                                                  Chapter 13
 Suzanne Marie Perina

 Debtors.                                         Hon. Judge Thomas M. Lynch

                                 CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of Mortgage
Payment Change upon the above-named parties by electronic filing or, as noted below, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on September
1, 2021, before the hour of 5:00 p.m.

          Nathan E. Curtis, Debtors’ Counsel
          ndil@geracilaw.com

          Jason K. Nielson, Debtors’ Counsel
          ndil@geracilaw.com

          Lydia Meyer, Trustee
          ecf@lsm13trustee.com

          Patrick S Layng, U.S. Trustee
          ustpregion11.md.ecf@usdoj.gov
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     Brian K. Perina, Debtor
     Suzanne Marie Perina, Debtor
     1811 River Terrace Dr.
     Unit
     Johnsburg, IL 60051


Dated: September 1, 2021                    Respectfully Submitted,

                                            /s/ Molly Slutsky Simons
                                            Molly Slutsky Simons (OH 0083702)
                                            Sottile & Barile, Attorneys at Law
                                            394 Wards Corner Road, Suite 180
                                            Loveland, OH 45140
                                            Phone: 513.444.4100
                                            Email: bankruptcy@sottileandbarile.com
                                            Attorney for Creditor
